Case 3:14-cv-01607-VAB Document 13 Filed 01/21/15 Page 1 of 1

JAMES J. SKELTON, ESQ.
Attorney at Law

P.O. Box 1409
Fairfleld, Connecticut 06825

203-371-4568
Fax 203~371-4795
jayskelton@optonline.net

January 21,2015

United States District Court
District of Connecticut

450 Main Street - Suite 320
Hartford, Connecticut 06103

Attn: Honorable Vanessa L. Bryant

Re: Sylvain v. Nathanson, Cipriano, et al NOTICE OF SETTLEMENT
3:14 CV 01607 VLB

Dear Judge Bryant:

This letter is to advise you that the above-referenced matter has been resolved between the
parties The parties are not filing a Rule 26 (f) report this date due to the fact that the case has
been settled. As stated in your local rules, the Court may infer from the parties’ failure to file a
26(1) report that the matter has been settled. Based upon that inferenee, the Court will dismiss the
case after fourteen (14) days notice.

The parties will seasonably file a Stipulation/Notice of Dismissal and forward a proposed
Order in this case.

Thank you for Your Honor’s assistance in this matter.

 
    

. S elton

cc Beverly Knapp Anderson, Esq.
Fred Trotta, Esq.

